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 7   Automobile Insurance Company
 8
 9
                                  UNITED STATES DISTRICT COURT
10
                                          DISTRICT OF NEVADA
11
      TERESA FIGUEROA ABRAMS, an individual;                    Case No. 2:24-cv-00825-JAD-BNW
12
                           Plaintiff,
13
      vs.                                                       STIPULATION AND ORDER FOR
14                                                              DISMISSAL WITH PREJUDICE
15    STATE FARM MUTUAL AUTOMOBILE
      INSURANCE COMPANY; DOES I - X, and
16    ROE CORPORATIONS I - X, inclusive,                                   ECF No. 9

17                       Defendants.

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19
               IT IS HEREBY STIPULATED by and between Defendant STATE FARM MUTUAL
20
     AUTOMOBILE INSURANCE COMPANY, by and through its attorneys of record, RENEE M.
21
     FINCH, ESQ. of MESSNER REEVES LLP and Plaintiff TERESA FIGUEROA ABRAMS,
22
     individually and by and through her counsel of record, CHET A. GLOVER, ESQ., of GINA
23
     CORENA & ASSOCIATED, and that all claims against STATE FARM MUTUAL AUTOMOBILE
24
     INSURANCE COMPANY, arising out of Case No. 2:24-cv-00825-JAD-BNW, be dismissed with
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     prejudice in its entirety, with each of the Parties to bear their own attorney’s fees and costs.
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     ///
27
     ///
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 1
               IT IS FURTHER STIPULATED that no trial is currently scheduled.
 2

 3    DATED this 7th day of June, 2024.                 DATED this 7th day of June, 2024.
 4    MESSNER REEVES, LLP                               CHET A. GLOVER, Esq
 5                                                      GINA CORENA & ASSOCIATES

 6    /s/ Renee M. Finch, Esq.                          /s/ Chet A. Glover, Esq.
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                                                        300 S. Fourth Street, Suite 1400
10                                                      Las Vegas, Nevada 89101
11                                                      Attorneys for Plaintiff

12
13
14                                              ORDER

15             Based on the parties’ stipulation [ECF No. 9] and good cause appearing, IT IS HEREBY

16   ORDERED that THIS ACTION IS DISMISSED with prejudice, each side to bear its own fees and
17   costs. The Clerk of Court is directed to CLOSE THIS CASE.
18
                                                       _________________________________
19                                                     U.S. District Judge Jennifer A. Dorsey
                                                       Dated: August 2, 2024
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